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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

GENEVIE ILENE MALEY and                     §
HOLLY DROWLEY                               §
                                            §
               Plaintiffs,                  §
                                            §       CIVIL ACTION NO: 1:15-CV-00394-LY
       v.                                   §
                                            §
MINNESOTA LIFE INSURANCE                    §
COMPANY,                                    §
                                            §
               Defendant.                   §


                             PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Genevie Ilene Maley and Holly Drowley

(“Plaintiffs”) in the above named case, hereby appeal to the United States Court of Appeals for

the Fifth Circuit from the Final Judgment [Doc. #28], signed and entered on July 19, 2016, which

dismissed Plaintiffs’ claims and ordered that they take nothing by their claims, and from the

accompanying Findings of Fact and Conclusions of Law, signed and entered on the same day

[Doc. #27].

Dated: August 18, 2016




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                                            Respectfully submitted,

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                                            GENEVIE ILENE MALEY AND
                                            HOLLY DROWLEY


                               CERTIFICATE OF SERVICE

       I certify that on this 18th day of August, 2016, a true and correct copy of the foregoing
document was forwarded via the Court’s CM/ECF system or via facsimile to the following
counsel:

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